
PER CURIAM.
The appellant challenges the denial of a motion to correct disposition error filed pursuant to Florida Rule of Juvenile Procedure 8.135(b)(2). The state concedes that the trial court erred by deviating from the recommendation of the Department of *1132Juvenile Justice without providing adequate reasons.1 Therefore, we reverse and remand for a new disposition hearing. See K.R. v. State, 973 So.2d 1170 (Fla. 1st DCA 2007) (reversing and remanding for new disposition hearing where trial court failed to provide adequate reasons for deviation from Department’s recommendation). Because we are remanding for a new disposition hearing, we do not address the second issue raised on appeal.
REVERSED and REMANDED for a new disposition hearing.
ALLEN, WOLF, and POLSTON, JJ., concur.

. Although the state asserts that sufficient reasons were given in the order denying the rule 8.135 motion, the slate concedes that the order was entered more than 30 days after the motion was filed, and thus, the order is deemed denied. See Fla. R. Juv. P. 8.135(b)(1)(B); O.H. v. State, 948 So.2d 79 (Fla. 2d DCA 2007) (order on rule 8.135 motion entered after 30 days is a nullity).

